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Plaintiff, CASE NO.I,Zi iB'“O\/-B-'/'f§-._:J`_ BXYUBJ"

_VS_
ONEMAIN F]NANCIAL SERVICES lNC,

Defendant.
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COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, Malon'e lson, by and through the undersigned counsel, and Sues
Defendant, ONEMA[N FlNANCIAL SERVICES, INC., and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)
and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like ONEMAIN FINANCIAL
SERVICES, INC. from invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they bound us until We Want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. Srate Farm
Bank, F.S.B., 746 F. 3d 1242 1256 (l 1lh Cir. 2014).

4. According to the Federal Communications Cornmjssion (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robo-calls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheer: Wheeler Prr)posal to Protect and Em.power Conswners
Against Unwamed Robo-calls, Texts to Wz'reless ler:es, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/ZO15/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See
Mims v. Arrr)w Ft`n. Servs., LLC, S.Ct. 74(), 748 {2()12) and Osorio v. State Farn't Bank, F.S.B.,
746 F.3d 1242, 1249 (l 1th Cir. 2014)

8. The alleged violations described herein occurred in Duval County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §l391(b)(2) as it is the

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judicial district in which a substantial part of the events or omissions giving rise to this action
occurred.
FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in Duval
County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

I l. Plainti ff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wel[s Fargo Bank, N.A., 755 F. 3d
1265 (l llh Cir. 2014) and Osorio v. State Farm Brmk, F.S.B., 746 F.3d 1242 (1 1th Cir. 2014).

13. Defendant is a corporation which was formed in Delaware with its principal place
of business located at 601 NW 2nd Street1 Evansville, lndiana 47708 and which conducts
business in the State of Florida through its registered agent, CT
Corporation System, located at 1200 Pine lsland Road Plantation, FL 33324.

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5)

16. Defendant called Plaintiff on Plaintiff’s cellular telephone approximately one
hundred (100) times in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made to
Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

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sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as‘specified by 47 U.S.C § 227(a)(l) (hereinafter
“auto-dialer calls”). Plaintiff will testify that she knew it was an auto-dialer because of the vast
number of calls she received and because she heard a pause when she answered her telephone
before a voice came on the line and/or she received prerecorded messages from Defendant.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (352) ***-9642, and was the called party and recipient of Defendant’s calls.

20. Upon receipt of the calls from Defendant, Plaintiff"s caller lD identified the calls
Were being initiated from, but not limited to, the following telephone numbers (904) 778-7681.

21. On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s) to stop calling her cellular telephone

22. In or about October 2017, Plaintiff answered a call from Defendant to her
aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
Defendant and informed the agent/representative that the calls to her cellular telephone were
harassing and demanded that they cease calling her cellular telephone

23. Despite clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on her cellular telephone, Defendant continues to place
automated calls to Plaintiff.

24. Each subsequent call to the Defendant made to Plaintiff’s aforementioned cellular
telephone number was done so without the “express consent” of the Plaintiff.

25. Each subsequent call the defendant made to Plaintist aforementioned cellular

telephone number was knowing and willful.

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26. ln or about November 2017, Plaintiff answered a call from the defendant and
spoke to an agent/representative of Defendant. Plaintiff explained to Defendant’s
agent/representative that the automated calls to her cellular telephone were harassing and again
demanded that the calls to her cellular telephone cease.

27. Plaintiff`s numerous conversations with Defendant’s agent/representative wherein
she demanded a cessation of calls were in vain as Defendant continues to bombard her with
automated calls unabated.

28. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

29. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff"s cellular telephone in
this case.

30. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintiff’ s cellular telephone in this case, with no
way for the consumer, Plaintiff, or Defendant to remove the number.

31. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff', despite these individuals explaining to Defendant they wish for the calls to stop.

32. Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

33. Defendant has numerous complaints across the country against it asserting that its

automatic telephone dialing system continues to call despite requested to stop.

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34. Defendant has had numerous complaints from consumers across the country
against it asking to not be called; however, Defendant continues to call the consumers.

35. Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant’s call list.

36. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

37. Not a single call placed by Defendant to Plaintiff were placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

38. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

39. From each and every call placed without consent by Defendant to Plaintist cell
phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her right of
seclusion.

40. From each and every call without express consent placed by Defendant to
Plaintiff` s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the phone unavailable for legitimate
callers or outgoing calls while the phone was ringing from Defendant’s calls.

41. From each and every ca11 placed without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked
for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone
and deal with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to

inform the user of important missed communications

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42. Each and every call placed without express consent by Defendant to Plaintiff s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call
notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff’ s cellular telephone, which are designed to inform the user of
important missed communicationsl

43. Each and every call placed without express consent by Defendant to Plaintiff s
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’ s cellular
telephone’s battery power.

44. Each and every call placed without express consent by Defendant to Plaintiff s
cellular telephone where a voice message was left which occupied space in Plaintiff"s cellular
telephone or network.

45. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of a trespass to Plaintiffs chattel, namely her cellular
telephone and her cellular telephone services

46. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress, anxiety and distress.

COUNT l
(Violation of the TCPA)

47. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty six

(46) as if fully set forth herein.

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48. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff" s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against ONEMA[N FINANCIAL SERVICES, INC. for statutory damages, punitive
damages, actual damages, treble damages, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

50. Plaintiff fully incorporates and re-alleges paragraphs one (l) through forty six
(46) as if fully set forth herein

51. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

52. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family.

53. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

her family.

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54. Defendant’s actions have directly and proximately resulted in Plaintiff" s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against ONEMAIN FINANCIAL SERVICES, INC. for statutory damages, punitive
damages, actual damages, costs, interest, attorney fees, enjoinder from further violations of these
parts and any other such relief the court may deem just and proper.

Respectfully submitted,

/s/ Octavio Gomez

 

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